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INRE CIRCULAR THERMOSTATANTITRUSTLITIGATION

Vr'ncenf'Fagan, et al. v. Honeywefl Inlernational, Inc., D. Massachusetts, C.A. No. 1:05-101 19
John Mchnnon v_ Honeywei'l International, Inc., D. Maine, C.A. No. 2:05-22

R. SadlerBailey v. Honeywell Intemarionaf, Inc., W.D. Tennessee, C.A. No. 2:05-2063
Alfred T. ergh! v. Honeywell Imernafional, Inc., D. Verrnont, C.A. Nc. 1:05-1

CONDITIONAL TRANSFER ORDER ( C T 0-1 )

On May 3, 2005, the Panel transferred one civil action to the United States District Court for the
Northern District of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. With the consent of that court, all such actions have been assigned to the
Honorable Williarn H. Alsup.

lt appears that the actions on this conditional transfer order involve questions of fact which are
common to the actions previously transferred to the Northern District of California and assigned
to Judge Alsup.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation4
199 F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the
Northern District of California for the reasons stated in the order of May 3, 2005, _F.Supp.
Zd.___ (J.P.M.L. 2005), and, with the consent of that court, assigned to the Honorable William H.
Alsup.

This order does not become effective until it is filed in the Of`fice of the Clerk of the United
States District Court for the Northern District of California. The transmittal of this order to said
Clerl< shall be stayed fifteen (15) days from the entry thereof and if any party files a notice of
opposition with the Clerk of the Panel within this fifteen (15) day period, the stay will be
continued until further order of the Panel.

 

inasmuch as no objection is FOR THE PANEL;

pending at this time, the
stay is iiited.

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“*F'i'incnt is a true and correct copy

Michael J. Beck NW nsyr[iginal on file in my officee

Clerk of the Panel " Hyakimer w.\\-'n:KING
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This notice confirms a copy of the document docketed as number 32 in
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